Case 5:22-cv-00848-FWS-SP Document 1-3 Filed 05/20/22 Page 1 of 43 Page ID #:18




                    EXHIBIT 1
           Case 5:22-cv-00848-FWS-SP Document 1-3 Filed 05/20/22 Page 2 of 43 Page ID #:19
                                                                                                                                                   SUM-100

                                            SUMMONS                                                                          FOR COURT USE ONLY
                                                                                                                         (SOLO PARA USO DE LA CORTE)
                                  (CITACION JUDICIAL)
NOTICE TO DEFENDANT:
(AVISO AL DEMANDADO):
                                                                                                                               F t L.. F
                                                                                                                     COUNTY a.:
 EXEL INC., a Massachusetts Corporation, dba DHL Supply Chain; and DOES 1 through 100,                                SAN BE131,,•-'..--.1.'vr.) r4r-i-RICT
 inclusive,
YOU ARE BEING SUED BY PLAINTIFF:                                                                                                APR 15 2022
(LO ESTA DEMANDANDO EL DEMANDANTE):

 DONNA FAREIO-FONTAINE, an individual,                                                                                     Amodine- Snickf,
  NOTICE! You have been sued. The court may decide against you without your being heard unless you respond within 30 days. Read the information
  below.
     You have 30 CALENDAR DAYS after this summons and legal papers are served on you to file a written response at this court and have a copy
 served on the plaintiff. A letter or phone call will not protect you. Your written response must be in proper legal form if you want the court to hear your
 case. There may be a court form that you can use for your response. You can find these court forms and more information at the California Courts
 Online Self-Help Center (www.courtinfo.ca.goviselfhelp), your county law library, or the courthouse nearest you. If you cannot pay the filing fee, ask the
 court clerk for a fee waiver form. If you do not file your response on time, you may lose the case by default, and your wages, money, and property may
  be taken without further warning from the court.
     There are other legal requirements. You may want to call an attorney right away. If you do not know an attorney, you may want to call an attorney
  referral service. If you cannot afford an attorney, you may be eligible for free legal services from a nonprofit legal services program. You can locate
 these nonprofit groups at the California Legal Services Web site (www.lawhelpcalifomia.org), the California Courts Online Self-Help Center
 (www.courtinfo.ca.goviselfhelp), or by contacting your local court or county bar association. NOTE: The court has a statutory lien for waived fees and
 costs on any settlement or arbitration award of $10,000 or more in a civil case. The court's lien must be paid before the court will dismiss the case.
 jAVISO!Lo han demandado. Si no responde dentro de 30 dies, la corte puede decidir en su contra sin escuchar su version. Lea la informacion a
 continuaciOn.
     Tiene 30 DIAS DE CALENDARIO despues de que le entreguen esta citaci6n y papeles legates para presentar una respuesta por escrito en esta
 code y hacer que se en/rogue una copia al demandante. Una carta o una Ilamada telefOnica no lo protegen. Su respuesta por escrito tiene que estar
 en formato legal correcto si desea que procesen su caso en la corte. Es posible que haya un formulario que usted pueda usar para su respuesta.
 Puede encontrar estos formularios de la code y mas informaciOn en el Centro de Ayuda de las Codes de California (www.sucorte.ca.gov), en la
  biblioteca de byes de su condado o en la code que le quede mas cerca. Si no puede pagar la cuota de presentacian, pida al secretario de la code que
  le de un formulario de exencian de pago de cuotas. Si no presenta su respuesta a tiempo, puede perder el caso por incumplimiento y la code le podra
  guitar su sue/do, dinero y bienes sin mas advertencia.
     Hay otros requisitos legates. Es recomendable que blame a un abogado inmediatamente. Si no conoce a un abogado, puede Hamar a un servicio de
  remisiOn a abogados. Si no puede pagar a un abogado, es posible que cumpla con los requisitos para obtener servicios legates gratuitos de an
 programa de servicios legates sin fines de lucro. Puede encontrar estos grupos sin fines de lucro en el sitio web de California Legal Services,
(www.lawhelpcalifomia.org), en el Centro de Ayuda de las Codes de California, (www.sucorte.ca.gov) o poniendose en contacto con la code o el
  co/egio de abogados locales. AVISO:Por by, la code tiene derecho a rectamar las cuotas y los costos exentos por imponer un gravamen sobre
 cualquier recuperacion de $10,000 a mas de valor recibida mediante un acuerdo o una concesiOn de arbitraje en un caso de derecho civil. Tiene que
  pagar el gravamen de la code antes de que la code pueda desechar el caso.
 The name and address of the court is:
(El nombre y direccion de /a code es): Superior Court of California, San Bernardino
                                                                                                              r LSER:'7, 4e0 IliatA
 County 247 West Third Street, San Bernardino, CA 92415

 The name, address, and telephone number of plaintiffs attorney, or plaintiff without an attorney, is: (El nombre, la direcci6n y el nOmero
 de telefono del abogado del demandante, o del demandante que no tiene abogado, es):
 Jake D. Finkel&Sheryl L. Marx;Law Offices of Jake D. Finke1;3470 Wilshire Blvd., Suite 830, Los Angeles, CA 90010;(213)787-7411
 DATE:                                                                       Clerk, by                                     , Deputy
(Fecha)                    APR 1 5 2022                                      (Secretario)                   AniodOr       (Adjunto)
(For proof of service of this summons, use Proof of Service of Summons (form POS-010).)
(Para prueba de entrega de esta citatiOn use el formulario Proof of Service of Summons,(POS-010).)
                                       NOTICE TO THE PERSON SERVED: You are served
                                       1.         as an individual defendant.
                                       2.          as the person sued under the fictitious name of (specify):

                                       3.          on behalf of (specify):

                                            under:         CCP 416.10 (corporation)                                 CCP 416.60 (minor)
                                                           CCP 416.20 (defunct corporation)                         CCP 416.70 (conservatee)
                                                           CCP 416.40 (association or partnership)                  CCP 416.90 (authorized person)
                                                          other (specify):
                                       4.          by personal delivery on (date)                                                                       Page 1 of 1
 Form Adopted for Mandatory Use                                        SUMMONS                                                Code of Civil Procedure §§ 412.20, 465
 Judicial Council of California                                                                                                                   www.courts.ca.gov
 SUM-100 [Rev. July 1,2009]
                                                                                                                                                       ‘,191     I %I

       Case 5:22-cv-00848-FWS-SP Document 1-3 Filed 05/20/22 Page 3 of 43 Page ID #:20
 ATTORNEY OR PARTY WITHOUT ATTORNEY (Name, State Bar mimber, and a' ddress):
 Law Offices of Jake D. Finkel, APC                                 FOR COURT USE ONLY

 Jake D. Finkel, Esq.(SBN: 293954); Sheryl L. Marx, Esq.(SBN: 311475)
 3470 Wilshire Blvd., Suite 830, Los Angeles, CA 90010
          TELEPHONE NO,:     (213)787-7411            FAX NO.(Optional): (323)916-0521                              c
                                                                                                                    ; t
    ATTORNEY FOR (Name):     Plaintiff, DONNA FAREIO-FONTAINE
                                                                                                        COUN'SHY
                                                                                                                          1ECOU1 T
                                                                                                                     7 . .IBERNi.:
 SUPERIOR COURT OF CALIFORNIA, COUNTY OF SAN BERNARDINO                                                  SAN 13Ei-..               :DINO
                                                                                                                            r ,        DISTRICT
  STREET ADDRESS: 247 West Third Street
  MAILING ADDRESS: 247 West Third Street                                                                            M AR 2 4 2022
 CITY AND ZIP CODE: San Bernardino, CA 92415
     BRANCH NAME: San Bernardino District
                                                                                                                            . n
                                                                                                                              i
 CASE NAME:                                                                                                iq PArt'de> r i
                                                                                                                         ' f11C.4 t").—.
  DONNA FAREIO-FONTAINE V. EXEL INC, et. al.
       CIVIL CASE COVER SHEET                                    Complex Case Designation           CASE NUMBER:

   v     Unlimited
        (Amount
                                        Limited
                                        (Amount
                                                                    Counter         Joinder      CIV              B 2 2 06 4 50
        demanded                                       Filed with first appearance by defendant JUDGE:
                                        demanded is
        exceeds $25,000)                                   (Cal. Rules of Court, rule 3.402)
                                        $25,000)                                                 DEPT.:

                                         Items 1-6 below must be completed (see instructions on page 2).
 1. Check one box below for the case type that best describes this case:
   Auto Tort                                         Contract                                     Provisionally Complex Civil Litigation
         Auto (22)                                          Breach of contract/warranty (06)     (Cal. Rules of Court, rules 3.400-3.403)
         Uninsured motorist(46)                             Rule 3.740 collections (09)                 Antitrust/Trade regulation (03)
   Other PI/PD/WD (Personal Injury/Property                 Other collections (09)                      Construction defect(10)
   Damage/Wrongful Death) Tort                                                                          Mass tort (40)
                                                            Insurance coverage (18)
         Asbestos(04)                                                                                   Securities litigation (28)
                                                            Other contract (37)
         Product liability (24)
                                                     Real Property                                      Environmental/Toxic tort (30)
         Medical malpractice (45)                                                                       Insurance coverage claims arising from the
                                                           Eminent domain/Inverse
         Other PUPD/WD (23)                                condemnation (14)                            above listed provisionally complex case
   Non-PI/PO/VIM (Other) Tort                                                                           types (41)
                                                            Wrongful eviction (33)               Enforcement of Judgment
         Business tort/unfair business practice (07)       Other real property (26)                     Enforcement of judgment(20)
         Civil rights (08)                           Unlawful Detainer
                                                                                                  Miscellaneous Civil Complaint
         Defamation (13)                                   Commercial (31)
                                                                                                        RICO (27)
         Fraud (16)                                        Residential (32)
                                                                                                        Other complaint (not specified above)(42)
         Intellectual property (19)                        Drugs(38)
                                                                                                  Miscellaneous Civil Petition
         Professional negligence (25)                Judicial Review
                                                           Asset  forfeiture (05)                       Partnership and corporate governance (21)
         Other non-Pl/PD/WD tort(35)
   Employment                                              Petition re: arbitration award (11)          Other petition (not specified above)(43)
         Wrongful termination (36)                         Writ of mandate (02)
         Other employment(15)                              Other judicial review (39)
2. This case          is       e is not     complex under rule 3.400 of the California Rules of Court. If the case is complex, mark the
   factors requiring exceptional judicial management:
   a.        Large number of separately represented parties       d.         Large number of witnesses
    b.       Extensive motion practice raising difficult or novel e.         Coordination with related actions pending in one or more
             issues that will be time-consuming to resolve                   courts in other counties, states, or countries, or in a federal
   c.        Substantial amount of documentary evidence                     court
                                                                  f.         Substantial postjudgment judicial supervision
3. Remedies sought (check all that apply): a.          monetary b.        nonmonetary; declaratory or injunctive relief c.           punitive
4. Number of causes of action (specify):8 (Eight)
5. This case          is       0 is not     a class action suit.
6. If there are any known related cases, file and serve a notice of related case.(You may use form CM-O5)
Date: March 22, 2022
SHERYL L. MARX, ESQ.
                            (TYPE OR PRINT NAME)                                                      (SIGNATURe OF ARTY OR ATTORNEY FOR PARTY)
                                                                      NOTICE
 • Plaintiff must file this cover sheet with the first paper filed in the action or proceeding (except small claims cases or cases filed
   under the Probate Code, Family Code, or Welfare and Institutions Code). (Cal. Rules of Court, rule 3.220.) Failure to file may result
   in sanctions.
 • File this cover sheet in addition to any cover sheet required by local court rule.
 • If this case is complex under rule 3.400 et seq. of the California Rules of Court, you must serve a copy of this cover sheet on all
   other parties to the action or proceeding.
 • Unless this is a collections case under rule 3.740 or a complex case, this cover sheet will be used for statistical purposes only.
                                                                                                                                                     Page 1 of 2
Form Adopted for Mandatory Use                                                                           Cal. Rules of Court, rules 2.30, 3.220, 3.400-3.403, 3.740;
                                                              CIVIL CASE COVER SHEET
          Case 5:22-cv-00848-FWS-SP Document 1-3 Filed 05/20/22 Page 4 of 43 Page ID #:21
                                                                                      CM-010
                       INSTRUCTIONS'ON HOW TO COMPLETE THE COVER SHEET
To Plaintiffs and Other's Filing First Papers. If you are filing a first paper (for example, a complaint) in a civil case, you must
complete and file, along with your first paper, the Civil Case Cover Sheet contained on page 1. This information will be used to compile
statistics about the types and numbers of cases filed. You must complete items 1 through 6 on the sheet. In item 1, you must check
one box for the case type that best describes the case. If the case fits both a general and a more specific type of case listed in item 1,
check the more specific one. If the case has multiple causes of action, check the box that best indicates the primary cause of action.
To assist you in completing the sheet, examples of the cases that belong under each case type in item 1 are provided below. A cover
sheet must be filed only with your initial paper. Failure to file a cover sheet with the first paper filed in a civil case may subject a party,
its counsel, or both to sanctions under rules 2.30 and 3.220 of the California Rules of Court.
To Parties in Rule 3.740 Collections Cases. A "collections case" under rule 3.740 is defined as an action for recovery of money owed
in a sum stated to be certain that is not more than $25,000, exclusive of interest and attorney's fees, arising from a transaction in which
property, services, or money was acquired on credit. A collections case does not include an action seeking the following:(1) tort
damages,(2) punitive damages,(3) recovery of real property,(4) recovery of personal property, or (5) a prejudgment writ of
attachment. The identification of a case as a rule 3.740 collections case on this form means that it will be exempt from the general
time-for-service requirements and case management rules, unless a defendant files a responsive pleading. A rule 3.740 collections
case will be subject to the requirements for service and obtaining a judgment in rule 3.740.
To Parties in Complex Cases. In complex cases only, parties must also use the Civil Case Cover Sheet to designate whether the
case is complex. If a plaintiff believes the case is complex under rule 3.400 of the California Rules of Court, this must be indicated by
completing the appropriate boxes in items 1 and 2. If a plaintiff designates a case as complex, the cover sheet must be served with the
complaint on all parties to the action. A defendant may file and serve no later than the time of its first appearance a joinder in the
plaintiff's designation, a counter-designation that the case is not complex, or, if the plaintiff has made no designation, a designation that
the case is complex.                                      CASE TYPES AND EXAMPLES
 Auto To                                        Contract                                           Provisionally Complex Civil Litigation (Cal.
    Auto (22)—Personal Injury/Property             Breach of C  Contract/Warranty
                                                                    t t/Warrany   t (06)           Rules of Court Rules 3.400-3.403)
           Damage/Wrongful Death                        Breach of Rental/Lease                           Antitrust/Trade Regulation (03)
       Uninsured Motorist (46)(if the                        Contract (not unlawful detainer             Construction Defect(10)
        case involves an uninsured                                or wrongful eviction)
                                                                                 i i                     Claims Involving Mass Tort (40)
        motorist claim subject to                       Contract/Warranty Breach—Seller                  Securities Litigation (28)
        arbitration, check this item                         Plaintiff (not fraud or negligence)         Environmental/Toxic Tort (30)
        instead of Auto)                                Negligent Breach of Contract/                    Insurance Coverage Claims
 Other PI/PD/WD (Personal Injury/                            Warranty                                         (arising from provisionally complex
 Property Damage/Wrongful Death)                        Other Breach of Contract/Warranty                      case type listed above)(41)
 Tort                                              Collections (e.g., money owed, open             Enforcement of Judgment
     Asbestos (04)                                      book accounts)(09)                            Enforcement of Judgment(20)
         Asbestos Property Damage                       Collection Case—Seller Plaintiff                  Abstract of Judgment(Out of
         Asbestos Personal Injury/                      Other Promissory Note/Collections                      County)
               Wrongful Death                                Case                                     Confession of Judgment (non-
     Product Liability (not asbestos or            Insurance Coverage (not provisionally                   domestic relations)
          toxic/environmental)(24)                      complex)(18)                                  Sister State Judgment
      Medical Malpractice (45)                          Auto Subrogation                              Administrative Agency Award
           Medical Malpractice—                         Other Coverage                                    (not unpaid taxes)
                Physicians & Surgeons              Other Contract
                                                                t t(37)                                Petition/Certification of Entry of
      Other Professional Health Care                    Contracuat lF  Fraudd                              Judgment on Unpaid Taxes
              Malpractice                               Other Contract Dispute                         Other Enforcement of Judgment
     Other PI/PD/WD (23)                        Real Property                                                Case
           Premises Liability (e.g., slip          Em
                                                   Eminentt D Domain/Inverse
                                                                     i /I                          Miscellaneous Civil Complaint
                and fall)                               Condemnation (14)                              RICO (27)
           Intentional Bodily Injury/PD/WD          Wrongfu l Eviction(33)                             Other Complaint (not specified
                (e.g., assault, vandalism)         Other Real Property (e.g., quiet title)(26)              above)(42)
           Intentional Infliction of                    Writ of Possession of Real Property                 Declaratory Relief Only
                Emotional Distress                      Mortgage Foreclosure                                Injunctive Relief Only (non-
           Negligent Infliction of                      Quiet Title                                              harassment)
                 Emotional Distress                     Other Real Property (not eminent                    Mechanics Lien
           Other PI/PD/WD                               domain, landlord/tenant, or                         Other Commercial Complaint
 Non-KIDD/1ND (Other) Tort                              foreclosure)                                             Case (non-tort/non-complex)
      Business Tort/Unfair Business             Unlawful Detainer
                                                              t i                                           Other Civil Complaint
          Practice (07)                             Commercial (31)                                              (non-tort/non-complex)
      Civil Rights (e.g., discrimination,           Residena ti l(32)                              Miscellaneous Civil Petition
            false arrest)(not civil                 Drugs (38)(if the case involves illegal            Partnership and Corporate
            harassment)(08)                         drugs, check this item; otherwise,                     Governance (21)
      Defamation (e.g., slander, libel)             report as Commercial or Residential)               Other Petition (not specified
            (13)                                Judicial Review                                            above)(43)
      Fraud (16)                                    Asset Forfeiture (05)                                  Civil Harassment
      Intellectual Property (19)                    Petition Re: Arbitration Award (11)                    Workplace Violence
      Professional Negligence (25)                  Writ of M
                                                            Mandate
                                                                 d t (02)                                  Elder/Dependent Adult
          Legal Malpractice                                it Ad i i t ti Mandamus
                                                        Wr—mnsrave                                              Abuse
          Other Professional Malpractice                Writ—Mandamus on Limited Court                     Election Contest
              (not medical or legal)                        Case Matter                                    Petition for Name Change
      Other Non-PI/PD/WD Tort(35)                       Writ—Other Limited Court Case                      Petition for Relief From Late
 Employment                                                 Review                                              Claim
      Wrongful Termination (36)                     Other Judicial Review (39)                             Other Civil Petition
      Other Employment(15)                              Review of Health Officer Order
                                                        Notice of Appeal—Labor
                                                              Commissioner Appeals
CM-010(Rev. July 1,2007(                                                                                                                  Page 2 of 2
                                                         CIVIL CASE COVER SHEET
         Case 5:22-cv-00848-FWS-SP Document 1-3 Filed 05/20/22 Page 5 of 43 Page ID #:22

                      SUPERIOR COURT OF CALIFORNIA, COUNTY OF SAN BERNARDINO


   DONNA FAREIO-FONTAINE                                                  Case N   IVS8 2206 450
                          VS.                                             CERTIFICATE OF ASSIGNMENT

 EXEL INC., et al

  A civil action or proceeding presented for filing must be accompanied by this Certificate. If the ground
  is the residence of a party, name and residence shall be stated.
  The undersigned declares that the above-entitled matter is filed for proceedings in the
   San Bernardino                    District of the Superior Court under Rule131 and General Order
  of this court for the checked reason:
            lj General                 I I Collection
               Nature of Action          Ground
           1. Adoption                  Petitioner resides within the district
          2. Conservator                Petitioner or conservatee resides within the district.
          3. Contract                   Performance in the district is expressly provided for.
0 4. Equity                             The cause of action arose within the district.
0         5  . Eminent  Domain          The property is located within the district.
rl        6. Family Law                 Plaintiff, defendant, petitioner or respondent resides within the district.
          7. Guardianship               Petitioner or ward resides within the district or has property within the district.
1         8. Harassment                 Plaintiff, defendant, petitioner or respondent resides within the district.
          9. Mandate                    The defendant functions wholly within the district.
          10. Name Change               The petitioner resides within the district.
          1 1. Personal Injury          The injury occurred within the district.
          12. Personal Property         The property is located within the district.
          13. Probate                   Decedent resided or resides within or had property within the district.
I         14. Prohibition               The defendant functions wholly within the district.
          15. Review                    The defendant functions wholly within the district.
          16. Title to Real Property    The property is located within the district.
          17. Transferred Action        The lower court is located within the district.
          18. Unlawful Detainer         The property is located within the district.
          19. Domestic Violence         The petitioner, defendant, plaintiff or respondent resides within the district.
         20. Other Employment           Wrongful Termination
         21. THIS FILING WOULD         NORMALLY FALL WITHIN JURISDICTION OF SUPERIOR COURT
  The address of the accident, performance, party, detention, place of business, or other factor which qualifies this
  case for filing in the above-designed district is:

EXEL INC., a Massachusetts Corporation, dba DHL Supply Chain;                        9333 Hermosa Ave
     NAME — INDICATE TITLE OR OTHERQUALIFYING FACTOR                                 ADDRESS


Rancho Cucamonga,                                                 CA                             91730
    CITY                                                                 STATE                        ZIP CODE

  I declare, under penalty of perjury, that the foregoing is true and correct and that this declaration was
  executed on March 24, 2022             at Los Angeles
  California.




Form # 13-16503-360                                    CERTIFICATE OF ASSIGNMENT                    Rev. June 2019
Mandatory Use
     Case 5:22-cv-00848-FWS-SP Document 1-3 Filed 05/20/22 Page 6 of 43 Page ID #:23



                                                                  SUFPER
                                                             COUNTY       C
                                                                    OF AN DEF
   Jake D. Finkel, Esq.(SBN 293954)                           SAN BERNARDINO         NO
                                                                             t     ACT
   Sheryl L. Marx, Esq.(SBN 311475)                                M AR 2 4 2022
 2
   LAW OFFICES OF JAKE D. FINKEL, APC
 3 3470  Wilshire Blvd., Suite 830
   Los Angeles, CA 90010
 4 Tel:(213) 787-7411
   Fax:(323)916-0521
 5

6 Attorneys for Plaintiff
  DONNA FAREIO-FONTAINE
7

 8                  SUPERIOR COURT OF THE STATE OF CALIFORNIA
 9                        FOR THE COUNTY OF SAN BERNARDINO
10
                                                   Case      "     2206450
11
     DONNA FAREIO-FONTAINE, an individual,                N°C1v SB
12                                                 PLAINTIFF'S COMPLAINT FOR
                       Plaintiff,                  DAMAGES FOR:
13

14                                                 I. DISABILITY DISCRIMINATION
             VS.                                      IN VIOLATION OF THE FEHA;
15                                                 2. DISABILITY HARASSMENT IN
                                                      VIOLATION OF THE FEHA;
16                                                 3. AGE DISCRIMINATION IN
17                                                    VIOLATION OF THE FEHA;
     EXEL INC., a Massachusetts Corporation, dba   4. GENDER DISCRIMINATION IN
18   DHL Supply Chain; and DOES 1 through 100,        VIOLATION OF THE FEHA;
     inclusive,                                    5. RETALIATION IN VIOLATION OF
19
                                                      THE FEHA;
20                                                 6. FAILURE TO ACCOMMODATE IN
                                                      VIOLATION OF THE FEHA;
21                   Defendants.                   7. FAILURE TO ENGAGE IN THE
                                                      INTERACTIVE PROCESS IN
22
                                                      VIOLATION OF THE FEHA; AND
23                                                 8. WRONGFUL TERMINATION IN
                                                      VIOLATION OF PUBLIC POLICY
24
                                                   DEMAND FOR JURY TRIAL
25

26

27

28


                                               1
                                    COMPLAINT FOR DAMAGES
     Case 5:22-cv-00848-FWS-SP Document 1-3 Filed 05/20/22 Page 7 of 43 Page ID #:24




 1           Plaintiff, DONNA FAREIO-FONTAINE, hereby brings her employment complaint,

 2 demanding a trial by jury, against the above-named Defendants and states and alleges as follows:

 3                                            THE PARTIES

 4           1.      At all times mentioned herein, Plaintiff, DONNA FAREIO-FONTAINE

 5 ("Plaintiff") was an individual and a resident of the State of California.

             2.      Plaintiff is informed and believes, and based thereon alleges, that Defendant EXEL

 7 INC., dba DHL SUPPLY CHAIN ("DHL" hereafter) is a Massachusetts corporation, doing

 8 business in the County of San Bernardino at 9333 Hermosa Ave, Rancho Cucamonga, CA 91730.

 9 Defendant was Plaintiff's employer within the meaning of Government Code §§ 12926,
10 subdivision (d), 12940, subdivisions (a),(h),(1), (h)(3)(A), and (i), and 12950, and regularly

1 1 employ five (5) or more persons and is therefore subject to the jurisdiction of this Court.

12           3.      Plaintiff is unaware of the true names and capacities of Defendants sued herein as

13 DOES 1 through 100, inclusive, and for that reason, sues said Defendants by such fictitious names.

14 Each of the Defendants designated herein as a DOE is negligently, intentionally, or otherwise

15 legally responsible in some manner for the events and happenings herein referred to and caused

16 injuries and damages proximately hereby to the Plaintiff, as herein alleged. Plaintiff will file and

17 serve one or more amendments to this complaint upon learning the true names and capacities of

18 said Defendants.

19           4.      Plaintiff is informed and believes that each of the fictitiously named Defendants is

20 responsible in some manner for, and proximately caused, the injuries and damages to Plaintiff

21    hereinafter alleged.

22           5.      Plaintiff is informed and believes, and based thereon alleges, that each of the

23 Defendants named herein acted as the employee, agent, servant, partner, alter-ego and/or joint

24 venture of one or more of the other Defendants named herein. In doing the acts and/or omissions

25 alleged herein, each of said Defendants acted within the course and scope of his or her relationship

26 with any other Defendant; and gave and received full consent, permission and ratification to the

27 acts and/or omissions alleged herein.

28           6.      Hereinafter in this Complaint, unless otherwise noted, reference to a Defendant,


                                               2
                                     COMPLAINT FOR DAMAGES
     Case 5:22-cv-00848-FWS-SP Document 1-3 Filed 05/20/22 Page 8 of 43 Page ID #:25




 1    shall mean all Defendants, and each of them.

 2                                      FACTUAL ALLEGATIONS

 3           7.      Donna Fareio-Fontaine ("Plaintiff') who was 61 years old at the time of the filing

 4 of this lawsuit received an offer from defendant EXEL INC., dba DHL Supply Chain DHL Supply

 5 Chain ("DHL," hereafter) on or around September 26, 2017, to work their Rancho Cucamonga

 6 location. Plaintiff began her employment with defendant DHL in or around October 2017 as an

 7 Operations Supervisor, her duties involved taking charge of multi-site operations, planning,

 8 procedure development, and inventory control. At all times during her employment Plaintiff

 9 performed her job duties competently.
10           8.      In or around April 2019, Plaintiff began experiencing high blood pressure and

11    anxiety, accompanied by symptoms of irregular heartbeat, difficulty breathing, and dizziness.

12 Plaintiff sought care from her medical provider, Dr. Michelle Laksana ("Dr. Laksana," hereafter),

13 who advised her to take time off work as part of the treatment for her disability. Unfortunately,

14 due to Plaintiffs ongoing condition, her medical provider extended her leave through March 16,

15 2020. During this time, Plaintiff continued to update her superiors, general manager, Regan Berry

16 ("Berry"), and Area HR Manager, Myla Sabanal-Romero("Romero,")through text messages with

17 her doctor's notes.

18           9.      Plaintiffs doctors were still unsure ofthe root cause of her condition. Cardiologist,

19 Dr. Michael Vargas("Dr. Vargas," hereafter), estimated that Plaintiffcould possibly return to work

20 on January 1, 2020, citing her diagnosis of hypertension, dizziness, palpitations, and near syncope

21    as clear reasons as to why Plaintiff could not safely return to work for the time being. Despite the

22 serious circumstances surrounding her health, Plaintiff attempted to compromise with DHL to see

23 ifshe could find a way to safely return to work. Previously, in or around March 2019, Plaintiff had

24 talked to Berry about possibly working a middle-shift position; this position would be part-time,

25 and Plaintiff would help by working from the end of the morning shift and into the beginning of

26 the night shift. For Plaintiff, this proposition was ideal, for it allowed her to work less hours, and

27 thus put less strain on her medical conditions, while allowing her to help both the other Operations

28 Supervisors and the company. Berry originally claimed that this was a good idea and seemed open


                                                3
                                      COMPLAINT FOR DAMAGES
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 1 to implementing this position for Fontaine. However, when Plaintiff brought up the proposition

 2 again on a separate occasion, Defendants stated that it could not be done without further discussion.

 3           10.    On or around October 28, 2019, Plaintiff and Romero spoke over the phone for an

 4 interactive process meeting. At the end of this meeting, it was agreed that Plaintiff would take 30

 5 days of personal leave and use up any vacation and sick time she had accrued. It was also decided

 6 that DHL and Plaintiff would have a second interactive process meeting at the end of her leave

 7 period. Suddenly, on or around January 10, 2020, without notification from DHL that her leave

 8 period had ended, DHL terminated Plaintiffs employment for not returning from leave. DHL

 9 failed to engage Plaintiff in a good faith interactive process meeting following her leave period as
10 it had agreed in the October 28, 2019, meeting. Plaintiff had never received any written

1 1 correspondence regarding the second interactive process meeting or her termination. Instead,

12 Romero and Berry called Plaintiff on or around February 10, 2020, to let her know she had

13 exhausted all of her available leave and she had been terminated. Days later Plaintiff received a

14 written notice of her termination which was dated a month prior, on January 10, 2020.

15           1 1.   DHL had other job opportunities that could have been offered to Plaintiff. At the

16 time of her termination DHL had two office positions available along with four floating supervisor

17 positions. Plaintiff could have worked either of these positions with her work restrictions. Plaintiff

18 was well qualified to work these positions because she had prior work experience as an operations

19 supervisor for two prior employers.

20           12.    Throughout her time with DHL,Plaintiff observed that older employees were often

21    the subject of harsher treatment and termination. Plaintiff observed that DHL systemically

22 terminated a team of supervisors who were all older and replaced them with new, younger

23 employees. Lastly, Plaintifffelt that DHL discriminated against her due to her gender. As a woman

24 working in a male-dominated environment, she noticed that there was a discrepancy in the ratio of

25 male supervisors to female ones. Plaintiff observed that female supervisors were counseled at a

26 higher rate, brought in for questioning by the management, and their production was a more

27 frequent topic of discussion. Female supervisors were expected to explain themselves or their

28 actions at a higher rate than male supervisors. This disparity even lent itself to a discrepancy


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 1   between the praise Plaintiff and her female colleagues would receive from their superiors

 2 compared to the praise received by their male counterparts. Male supervisors were continuously

 3 praised and told they were doing a "goodjob"for meeting their numbers and expectations. On the

 4 other hand, female supervisors were typically automatically expected to perform at this standard

 5 and were not given much praise or encouragement for doing the same work that their male

 6 counterparts were doing.

 7           13.      Based on the foregoing, Plaintiff is informed and believes that Defendants

 8 discriminated against her on the basis ofher age, gender, and disabilities. As a result ofthe constant

 9 discrimination, harassment, and retaliation Plaintiff has suffered with economic loss and severe
10 emotional distress. The discrimination, harassment, and retaliation caused stress, anxiety,

11   depression, insomnia as well as other emotional distress symptoms.

12                         EXHAUSTION OF ADMINISTRATIVE REMEDIES

13           14.      Plaintiff filed a complaint against Defendants with the Department of Fair

14 Employment and Housing("DFEH")on March 25, 2021. The DFEH issued Plaintiff a "Right-to-

15 Sue" letter that same day. This Complaint is timely filed pursuant to that letter. Venue is proper in

16 San Bernardino County because that is where Plaintiff worked and where the discriminatory

17 conduct occurred.

18                                       FIRST CAUSE OF ACTION

19                 DISABILITY DISCRIMINATION IN VIOLATION OF THE FEHA

20                                    Government Code § 12900, et seq.

21                                       (Against ALL Defendants)

22           15.      Plaintiff hereby incorporates the paragraphs above as though fully set forth herein.

23           16.     Defendants' conduct, as alleged, violated FEHA, Government Code section 12900,

24 et seq., and defendants committed unlawful employment practices, including by the following

25 bases for actual and/or perceived disability:

26                 a. Discharging, barring, refusing to transfer, retain, and/or otherwise discriminating

27 against plaintiff, in whole or in part on the basis of plaintiff's actual and/or perceived disability, in

28 violation of Government Code section 12940(a);


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 1                 b. Harassing plaintiff and/or creating a hostile work environment, in whole or in part

 2 on the basis of plaintiff's actual and/or perceived disability, in violation of Government Code

 3 section 12940(j);

 4                 c. Failing to take all reasonable steps to prevent discrimination and harassment based

 5 on actual and/or perceived disability, in violation of Government Code section 12940(k);

 6                 d. Retaliating against plaintiff for seeking to exercise rights guaranteed under FEHA

 7 and/or opposing defendants' failure to provide such rights, in violation of Government Code

 8 section 12940(h).

 9           17.     As a proximate result of defendants' willful, knowing, and intentional

10 discrimination against plaintiff, plaintiff has sustained and continues to sustain substantial losses

11   of earnings and other employment benefits.

12           18.     As a proximate result of defendants' willful, knowing, and intentional

13 discrimination against plaintiff, plaintiff has suffered and continues to suffer suffering,

14 humiliation, mental anguish, emotional distress, inconvenience,injury to reputation, other physical

15 and mental pain, and medical and therapeutic expenses, all to her damage in a sum according to

16 proof.

17           19.     Defendants' misconduct was committed intentionally, in a malicious, despicable,

18 oppressive, fraudulent manner, entitling plaintiff to punitive damages against defendants.

19           20.     Plaintiff has incurred and continues to incur legal expenses and attorneys' fees.

20 Plaintiff is entitled to recover reasonable attorneys' fees and costs (including expert costs) in an

21   amount according to proof pursuant to Government Code section 12965(b).

22                                     SECOND CAUSE OF ACTION

23                   DISABILITY HARASSMENT IN VIOLATION OF THE FEHA

24                                    Government Code § 12900, et seq.

25                                       (Against ALL Defendants)

26           21.      Plaintiff hereby incorporates the paragraphs above as though fully set forth

27 herein.

28           22.     Defendants' conduct, as alleged, violated FEHA, Government Code section


                                                 6
                                       COMPLAINT FOR DAMAGES
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 1   12900, et seq., and Defendants committed unlawful employment practices, including by the

 2 following bases for liability:

 3                a. Harassing Plaintiff and/or creating a hostile work environment, in whole or in part

 4 on the basis of Plaintiff's actual and/or perceived disability, in violation of Government Code

 5 section 12940(j);

 6                b. Failing to take all reasonable steps to prevent discrimination and harassment based

 7 on actual and/or perceived disability, in violation of Government Code section 12940(k);

 8                c. Retaliating against Plaintiff for seeking to exercise rights guaranteed under FEHA

 9 and/or opposing Defendants' failure to provide such rights, in violation of Government Code
10 section 12940(h).

11          23.     As a proximate result of Defendants' willful, knowing, and intentional

12 harassment against Plaintiff, Plaintiff has sustained and continues to sustain substantial losses of

13 earnings and other employment benefits.

14          24.     As a proximate result of Defendants' willful, knowing, and intentional

15 harassment against Plaintiff, Plaintiff has suffered and continues to suffer suffering, humiliation,

16 mental anguish, emotional distress, inconvenience, injury to reputation, other physical and mental

17 pain, and medical and therapeutic expenses, all to her damage in a sum according to proof.

18          25.     Defendants' misconduct was committed intentionally, in a malicious, despicable,

19 oppressive, fraudulent manner, entitling Plaintiff to punitive damages against Defendants.

20          26.     Plaintiff has incurred and continues to incur legal expenses and attorneys' fees.

21 Plaintiff is entitled to recover reasonable attorneys' fees and costs (including expert costs) in an

22 amount according to proof pursuant to Government Code section 12965(b).

23                                     THIRD CAUSE OF ACTION

24                     AGE DISCRIMINATION IN VIOLATION OF THE FEHA

25                                      (Against ALL Defendants)

26          27. Plaintiff hereby incorporates the paragraphs above as though fully set forth herein.

27          28.      At all times hereto, the FEHA was in full force and effect and was binding upon

28 defendants and each of them.


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                                      COMPLAINT FOR DAMAGES
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 1            29.      Plaintiff was an employee for Defendants who was over the age of 40 years old at

 2 the time Defendants terminated her employment.

 3            30.      Plaintiffs status as a person over the age of 40 years old was a substantial

 4 motivating reason for Defendants' discharge of Plaintiff

 5            31.      Plaintiff is informed and believes that she was replaced by a substantially younger

 6 employee.

 7            32.      Plaintiff suffered harm due to the age discrimination that she endured due to

 8    Defendants' termination of her employment.

 9            33.      As a proximate result of the acts and omissions of Defendants as detailed above,

10 Plaintiff has sustained and continues to sustain substantial damages in an amount to be proven at

11   trial.

12            34.      The conduct of Defendants as described above was malicious, fraudulent, or

13 oppressive and done with a willful and conscious disregard for Plaintiffs rights. Defendants and

14 their officers, directors and managing agents authorized, condoned, and ratified the unlawful

15 conduct of each other. Consequently, Plaintiff is entitled to punitive damages against Defendants.

16                                      FOURTH CAUSE OF ACTION

17                    GENDER DISCRIMINATION IN VIOLATION OF THE FEHA

18                                        (Against ALL Defendants)

19            35.      Claimant hereby incorporates the paragraphs above as though fully set forth herein.

20            36.      Respondents' conduct, as alleged, violated FEHA, Government Code section

21   12900, et seq., and Respondents committed unlawful employment practices, including by the

22 following bases for gender:

23                  e. Discharging, barring, refusing to transfer, retain, and/or otherwise discriminating

24 against Claimant, in whole or in part on the basis of Claimant's gender, in violation of Government

25 Code section 12940(a);

26                  f. Harassing Claimant and/or creating a hostile work environment, in whole or in part

27 on the basis of Claimant's gender, in violation of Government Code section 12940(j),

28                  g. Failing to take all reasonable steps to prevent discrimination and harassment based


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                                        COMPLAINT FOR DAMAGES
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 1 on gender, in violation of Government Code section 12940(k);

 2                h. Retaliating against Claimant for seeking to exercise rights guaranteed under FEHA

 3 and/or opposing Respondents' failure to provide such rights, in violation of Government Code

 4 section 12940(h).

 5           37.     As a proximate result of Respondents' willful, knowing, and intentional

 6 discrimination against Claimant, Claimant has sustained and continues to sustain substantial losses

 7 of earnings and other employment benefits.

 8           38.     As a proximate result of Respondents' willful, knowing, and intentional

 9 Discrimination against Claimant, Claimant has suffered and continues to suffer suffering,

10 humiliation, mental anguish, emotional distress, inconvenience,injury to reputation, other physical

11   and mental pain, and medical and therapeutic expenses, all to her damage in a sum according to

12 proof.

13           39.     Respondents' misconduct was committed intentionally, in a malicious, despicable,

14 oppressive, fraudulent manner, entitling Claimant to punitive damages against Respondents.

15           40.     Claimant has incurred and continues to incur legal expenses and attorneys' fees.

16 Claimant is entitled to recover reasonable attorneys' fees and costs (including expert costs) in an

17 amount according to proof pursuant to Government Code section 12965(b).

18                                      FIFTH CAUSE OF ACTION

19                          RETALIATION IN VIOLATION OF THE FEHA

20                                      (Against ALL Defendants)

21          41. Plaintiff hereby incorporates the paragraphs above as though fully set forth herein.

22          42.     Defendants' conduct, as alleged, violated FEHA, Government Code section 12900,

23 et seq., and defendants committed unlawful employment practices, including by the following

24 bases for liability:

25                a. Discharging, barring, refusing to transfer, retain, and/or otherwise discriminating

26 against plaintiff, in whole or in part on the basis of plaintiff's actual and/or perceived disability, in

27 violation of Government Code section 12940(a);

28                b. Failing to take all reasonable steps to prevent discrimination, harassment, and


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 1   retaliation on the basis of actual and/or perceived disability and complaining to conduct plaintiff

 2 believed to be illegal, in violation of Government Code section 12940(k);

 3                c. Retaliating against plaintiff for seeking to exercise rights guaranteed under FEHA

 4 and/or opposing defendants' failure to provide such rights, in violation of Government Code

 5 section 12940(h).

 6          43.     Defendant's motivating factors in terminating, not to retain, not to transfer, or

 7 otherwise employ plaintiff in any position and/or take other adverse employment action, including

 8 employment termination, against plaintiff was in whole or in part because of plaintiffs actual

 9 and/or perceived disability.
10          44.     As a proximate result of defendants' willful, knowing, and intentional harassment

11   against plaintiff, plaintiff has sustained and continues to sustain substantial losses of earnings and

12 other employment benefits.

13          45.     As a proximate result of defendants' willful, knowing, and intentional harassment

14 against plaintiff, plaintiff has suffered and continues to suffer suffering, humiliation, mental

15 anguish, emotional distress, inconvenience, injury to reputation, other physical and mental pain,

16 and medical and therapeutic expenses, all to her damage in a sum according to proof.

17          46.     Defendants' misconduct was committed intentionally, in a malicious, despicable,

18 oppressive, fraudulent manner, entitling plaintiff to punitive damages against defendants.

19          47.     Plaintiff has incurred and continues to incur legal expenses and attorneys' fees.

20 Plaintiff is entitled to recover reasonable attorneys' fees and costs (including expert costs) in an

21   amount according to proof pursuant to Government Code section 12965(b).

22                                     SIXTH CAUSE OF ACTION

23                FAILURE TO ACCOMMODATE IN VIOLATION OF THE FEHA

24                                      (Against ALL Defendants)

25          48.      Plaintiff restates and hereby incorporates the paragraphs above as though fully set

26 forth herein.

27          49.      At all times hereto, the FEHA, including in particular Government Code

28 §12940(m), was in full force and effect and was binding upon Defendants. This subsection imposes


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 1   a duty on Defendants to make reasonable accommodations for the known disability of an

 2 employee.

 3          50.     At all relevant times, Plaintiff was a member ofa protected class within the meaning

 4 of Government Code §§12940(a) & 12986(1) et seq. because she suffered with a disability, of

 5 which Defendants had both actual and constructive knowledge.

 6          51.     At all times herein, Plaintiff was willing and able to perform the duties and

 7 functions of the position in which she was employed or could have performed the duties and

 8 functions of that position with reasonable accommodations. At no time would the performance of

 9 the functions of the employment position, with reasonable accommodations for Plaintiff's
10 disability or her disability as it was perceived by Defendants, have been in danger to Plaintiffs or

11   any other person's health or safety. Accommodation of Plaintiffs disability or her disability as it

12 was perceived by Defendants would not have imposed an undue hardship on Defendants.

13 Defendants failed and refused to accommodate Plaintiff and failed to engage in the interactive

14 process with Plaintiff.

15          52.     The above said acts of Defendants constitute violations of the FEHA and were a

16 proximate cause in Plaintiffs damage as stated below.

17          53.     The foregoing conduct of Defendants individually, or by and through their

18 managing agents, was intended by the Defendants to cause injury to the Plaintiff or was despicable

19 conduct carried on by the Defendants with a willful and conscious disregard of the rights of

20 Plaintiff or subjected Plaintiff to cruel and unjust hardship in conscious disregard of Plaintiffs

21   right to be free from interference by threats, intimidation, or coercion, or attempts to interfere by

22 threats, intimidation, or coercion, such as to constitute malice, oppression, or fraud under Civil

23 Code §3294, thereby entitling Plaintiff to punitive damages in an amount appropriate to punish or

24 make an example of Defendants.

25          54.     Pursuant to Government Code §12956(b), Plaintiff requests a reasonable award of

26 attorneys' fees and costs, including expert fees pursuant to the FEHA.

27 ///

28 ///


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                                     COMPLAINT FOR DAMAGES
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 1                                  SEVENTH CAUSE OF ACTION

 2    FAILURE TO ENGAGE IN THE INTERACTIVE PROCESS IN VIOLATION OF THE

 3                                                 FEHA

 4                                     (Against ALL Defendants)

 5          55.     Plaintiff restates and hereby incorporates the paragraphs above as though fully set

 6 forth herein.

 7          56.     At all times hereto, the FEHA,including in particular Government Code §12940(n),

 8 was in full force and effect and was binding upon Defendants. This subsection imposes a duty on

 9 Defendants to engage in a timely, good faith, interactive process with the employee to determine
10 effective reasonable accommodations, if any, in response to a request for reasonable

11   accommodation by an employee with an actual and/or perceived disability.

12          57.     At all relevant times, Plaintiff was a member ofa protected class within the meaning

13 of particular Government Code §§12940(a)& 12986(1)et seq. because she suffered with an actual

14 and/or perceived disability, of which Defendants had both actual and constructive knowledge.

15          58.     Plaintiff reported her disability to Defendants, triggering Defendants' obligation to

16 engage in the interactive process with Plaintiff, but at all times herein, Defendants failed and

17 refused to do so.

18          59.     The above said acts of Defendants constitute violations of the FEHA and were a

19 proximate cause in Plaintiffs damages as stated below.

20          60.     The foregoing conduct of Defendants individually, or by and through their

21   managing agents, was intended by the Defendants to cause injury to the Plaintiff or was despicable

22 conduct carried on by the Defendants with a willful and conscious disregard of the rights of

23 Plaintiff or subjected Plaintiff to cruel and unjust hardship in conscious disregard of Plaintiff's

24 right to be free from interference by threats, intimidation, or coercion, or attempts to interfere by

25 threats, intimidation, or coercion, such as to constitute malice, oppression, or fraud under Civil

26 Code §3294, thereby entitling Plaintiff to punitive damages in an amount appropriate to punish or

27 make an example of Defendants.

28          61.    Pursuant to Government Code §12956(b), Plaintiff requests a reasonable award of


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 1   attorneys' fees and costs, including expert fees pursuant to the FEHA.

 2                                   EIGHTH CAUSE OF ACTION

 3             WRONGFUL TERMINATION IN VIOLATION OF PUBLIC POLICY

 4                                     (Against ALL Defendants)

 5          62.     Plaintiff realleges and incorporates by reference all preceding paragraphs of this

 6 complaint as though fully set forth herein.

 7          63.     At all times mentioned, the public policy of the State of California, as codified

 8 expressed and mandated in California Government Code § 12940 prohibits employers from

 9 discriminating and retaliating against any employee on the basis of age. Labor Code § 1102.5
10 prohibits employers from retaliating against employees for complaining to the government or to

11   management about a subject matter that violates state law that the employee reasonably believes

12 violates the law. The public policy of the State of California is designed to protect all employees

13 and to promote the welfare and well-being of the community at large.

14          64.     At the time of her termination, Plaintiff was over the age of 40. Prior to her

15 termination, Plaintiff engaged in protected activity, including, but not limited to, complaining

16 about discrimination. Instead of investigating Plaintiff's complaints regarding Defendants'

17 unlawful practices, Defendants retaliated and wrongfully terminated Plaintiff's employment

18 because of her age and because of her protected complaints.

19          65.     As a direct result of the wrongful termination, Plaintiff has sustained, and will

20 continue to sustain for a period of time, compensatory damages including, but not limited to, loss

21   of income and loss of future earning capacity, all to her damage in an amount according to proof.

22 As a further direct result of the wrongful termination, Plaintiff has sustained, and will continue to

23 sustain for a period of time, severe physical, emotional, and mental pain, suffering, and distress,

24 all to her general damage in an amount according to proof.

25          66.     The acts and conduct of Defendants, and each of them constituted "malice,"

26 "oppression" and/or "fraud" (as those terms are defined in Civil Code § 3294(c), in that it was

27 intended by Defendants, and each of them, to cause injury to Plaintiff or was despicable conduct

28 which was carried on by Defendants, and each of them, with a willful and conscious disregard of


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 1 the rights of Plaintiff.
2          67.     The acts ofDefendants,and each ofthem, were done fraudulently, maliciously, and
 3 oppressively, and with the advance knowledge, conscious disregard, authorization, or ratification
4 within the meaning of Civil Code § 3294 on the part of the Defendants' officers, directors, or
 5 managing agents of the corporation. The actions and conduct of Defendants, and each of them,
6 were intended to cause injury to Plaintiff and constituted deceit and concealment of material facts
 7 known to Defendants, and each of them, with the intention of the Defendants' part to deprive
 8 Plaintiff of property and legal rights,justifying an award ofexemplary and punitive damages in an

 9 amount according to proof

10

11                                       PRAYER FOR RELIEF
12      WHEREFORE,Plaintiff prays for judgment as follows:

13          1. For general damages in an amount within the jurisdictional limits ofthis Court;

14          2. For special damages, according to proof;

15          3. For punitive damages;

16         4. For medical expenses and related items of expense, according to proof;

17          5. For loss of earnings, according to proof;

18         6. For attorneys' fees, according to proof;

19          7. For prejudgment interest, according to proof;

20          8. For costs of suit incurred herein;

21          9. For declaratory relief;

22          10. For injunctive relief; and

23          1 1. For such other relief that the Court may deem just and proper.

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                                    COMPLAINT FOR DAMAGES
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 1                                 DEMAND FOR JURY TRIAL
2         Plaintiff hereby demands a trial by jury.
 3
4
     DATED: March 24, 2022              LAW OFFICES OF JAKE D.FINKEL,APC
 5
6
 7
                                        By:
 8
                                                SHERYL L. MARX
 9                                              Attorneys for Plaintiff
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                                  COMPLAINT FOR DAMAGES
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                                      SUPERIOR COURT OF CALIFORNIA,
                                       COUNTY OF SAN BERNARDINO
                                           San Bernardino District
                                              247 West 3rd St
                                          San Bernardino CA 92415
                                              www.sb-court.org
                                               909-708-8678

                                          Fareio-Fontaine -v- Excel Inc. et al
                                                                                             Case Number
NOTICE OF TRIAL SETTING CONFERENCE and NOTICE OF CASE ASSIGNMENT
                                                                                             0IVSB2206450
Law Offices of Jake D. Finkel, APC
3470 Wilshire BLVD
STE 830
Los Angeles CA 90010

This case has been assigned to: Janet M Frangie in Department S29 - SBJC for all purposes.

 Notice is hereby given that the above-entitled case has been set for Trial Setting Conference on:

                         Hearing Date: 10/12/2022 at 8:30 AM in Department S29 - SBJC

The Trial Setting Conference will be held in chambers without the appearance of the parties — except for good
cause shown. (Local Rule 411.1).

 Parties shall file and serve no later than 10 days prior to the trial setting conference the mandatory Initial Trial
 Setting Conference Statement form (local form #13-09001-360) included with this notice. Prior to the date of
 the initial trial setting conference, the court may entertain a written stipulation by all appearing parties to
 continue the initial trial setting conference if filed at least 30 days prior to the conference. In the event an At
 Issue Memorandum shall be filed and served no later than 15 days prior to the trial setting conference.

 Date: 4/15/2022                                                 Nancy CS Eberhardt, Court Executive Officer


                                                                  By:        PiqcPô
                                                                        Amador Sanchez, Deputy Clerk



                                             CERTIFICATE OF SERVICE

 I am a Deputy Clerk of the Superior Court for the County of San Bernardino at the above-listed address. I am
 not a party to this action and on the date and place shown below, I served a copy of the above-listed notice by:
 El Enclosed in a sealed envelope mailed to the interested party addressed above for collection and mailing
      this date, following standard Court practices.
 0 Enclosed in a sealed envelope, first class postage prepaid in the U.S. mail at the location shown above,
      mailed to the interested party and addressed as shown above or as shown on the attached listing.
 0 A copy of this notice was given to the filing party at the counter.
 0 A copy of this notice was placed in the bin located at this office and identified as the location for the above
      law firm's collection of file-stamped documents.
 Date of Mailing: 4/15/2022

 I declare under penalty of perjury that the forgoing is true and correct. Executed on 4/15/2022 at San
 Bernardino, CA.

                                                                                ce ceo           C 192
                                                                  By:
                                                                        Amador Sanchez, Deputy Clerk
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                                   Presented by the
                            Judicial Council of California
                                       And the
                                State Bar of California
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     Introduction
     Did you know that most civil lawsuits settle without a trial?

     And did you know that there are a number of ways to resolve civil disputes without
     having to sue somebody?

     These alternatives to a lawsuit are known as alternative dispute resolution (ADR). The
     most common forms of ADR are mediation, arbitration, and case evaluation. There
     are a number of other kinds of ADR as well.

     In ADR, trained, impartial persons decide disputes or help parties decide disputes
     themselves. These persons are called neutrals. For example, in mediation, the
     neutral is the mediator. Neutrals normally are chosen by the disputing parties or by
     the court. Neutrals can help parties resolve disputes without having to go to court.

     ADR is not new. ADR is available in many communities, through dispute resolution
     programs and private neutrals.


     Advantages of ADR

     ADR can have a number of advantages over a lawsuit.

    • ADR can be speedier. A dispute often can be resolved in a matter of months,
      even weeks, through ADR, while a lawsuit can take years.

         ADR can save money. Court costs, attorneys' fees, and expert fees can be
         saved.

    • ADR can permit more participation. The parties may have more chances to tell
      their side of the story than in court and may have more control over the outcome.

     ▪   ADR can be flexible, The parties can choose the ADR process that is best for
         them. For example, in mediation the parties may decide how to resolve their
         dispute.

     •   ADR can be cooperative. This means that the parties having a dispute may work
         together with the neutral to resolve the dispute and agree to a remedy that makes
         sense to them, rather than work against each other.

     •   ADR can reduce stress. There are fewer, if any, court appearances. And
         because ADR can be speedier, and save money, and because the parties are
         normally cooperative, ADR is easier on the nerves. . The *ties don't have a
         lawsuit hanging over their heads for years.




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    • ADR can be more satisfying. For all the above reasons, many people have
      reported a high degree of satisfaction with ADR.

     Because of these advantages, many parties choose ADR to resolve a dispute, instead
     of filing a lawsuit. Even when a lawsuit has been filed, the court can refer the dispute
     to a neutral before the parties' positions harden and the lawsuit becomes cosily. ADR
     has been used to resolve disputes even after a trial, when the result is appealed.

     Disadvantages of ADR
     ADR may not be suitable for every dispute.

    • If ADR is binding, the parties normally give up most court protections, including a
      decision by a judge or jury under formal rules of evidence and procedure, and
      review for legal error by an appellate court.

    • There generally is less opportunity to find out about the other side's case with
      ADR than with litigation, ADR may not be effective if it takes place before the
      parties have sufficient information to resolve the dispute

    • The neutral may charge a fee for his or her services.

    • If a dispute is not resolved through ADR, the parties may have to put time and
      money into both ADR and a lawsuit.

    • Lawsuits must be brought within specified periods of time, known as statutes of
      limitation. Parties must be careful not to let a statute of limitations run out while a
      dispute is in an ADR process.

     Three Common Types of ADR

     This pamphlet describes the forms of ADR most often found in the California state
     courts and discusses when each may be right for a dispute.

    •    MEDIATION

     In mediation, a neutral (the mediator) assists the parties in reaching a mutually
     acceptable resolution of their dispute. Unlike lawsuits or some other types of ADR, the
     mediator does not decide how the dispute is to be resolved. The parties do.

     Mediation is a cooperative process, in which the parties work together toward a
     resolution that tries to meet everyone's interests, instead of working against each
     other, where at least one party loses. Mediation normally leads to better relations
     between the parties and to resolutions that hold up. For example, mediation has been
     very successful in family disputes, particularly with child custody and visitation.




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     Mediation is particularly effective when the parties have a continuing relationship, like
     neighbors or business people. Mediation also is very effective where personal feelings
     are getting in the way of a resolution. This is because mediation normally gives the
     parties a chance to let out their feelings and find out how each other sees things.

     Mediation may not be a good idea when one party is unwilling to discuss a resolution
     or when one party has been a victim of the other or cannot have enough bargaining
     power in the mediation. However, mediation can be successful for victims seeking
     restitution from offenders. A mediator can meet with the parties separately when there
     has been violence between them.

    • ARBITRATION

     In arbitration, a neutral (the arbitrator) reviews evidence, hears arguments, and makes
     a decision (award) to resolve the dispute. This is very different from mediation, where
     the mediator helps the parties reach their own resolution. Arbitration normally is more
     informal and much speedier and less expensive than a lawsuit. Because of the large
     number of cases awaiting trial in many courts, a dispute normally can be heard much
     more quickly by an arbitrator than by a judge. Often a case that may take a week to
     try in court can be heard by an arbitrator in a matter of hours, because evidence can
     be submitted by documents (like medial reports and bills and business records), rather
     than testimony.

     There are two kinds of arbitration in California. Private arbitration, by agreement of the
     parties involved in the dispute, takes place outside of the courts and normally, is
     binding. In most cases "binding" means that the arbitrator's decision (award) is final
     and there will not be a trial or an appeal of that decision. By contrast, a decision by an
     arbitrator in a case referred by the courts, known as "judicial arbitration," is not binding,
     unless parties agree to be bound. A party who does not like the award may file a
     request for trial with the court within a specified time. However, if that party does not
     do better in the trial than in arbitration, he or she may have to pay a penalty.

     Arbitration is best for cases where the parties want a decision without the expense of a
     trial. Arbitration may be better than mediation when the parties have no relationship
     except for the dispute.

     Arbitration may not be a good idea when the parties want to resolve their dispute by
     themselves, or with the aid of a neutral.

    . CASE EVALUATION

     In case evaluation, a neutral (the evaluator) gives an opinion on the strengths and
     weaknesses of each party's evidence and arguments, and makes an evaluation of the
     case. Each party gets a chance to present the case and hear the other side. This
     may lead to a settlement, or at least help the parties prepare to resolve the dispute
     later on.




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     Case evaluation, like mediation, can come early in the dispute and save time and
     money.

     Case evaluation is most effective when someone has an unrealistic view of the dispute
     or when the only real issue is what the case is worth, or when there are technical or
     scientific questions to be worked out.

     Case evaluation may not be a good idea when it is too soon to tell what the case is
     worth or when the dispute is about something besides money, like a neighbor playing
     loud music late at night.

     Additional Information
     There are several other types of ADR beside mediation, arbitration, and case
     evaluation. Some of these are conciliation, settlement conferences, fact finding, mini-
     trials, and summary jury trials. Sometimes parties will try a combination of ADR types.
     The important thing is to try to find the type or types of ADR that are most likely to
     resolve your dispute.

     The selection of a neutral is an important decision. There is no legal requirement that
     the neutral to be licensed or hold any particular certificate. However, some programs
     have, established qualification requirements for neutrals. You may wish to inquire
     about the qualifications of any neutral you are considering.

     Agreements reached through ADR normally are put in writing by the neutral and, if the
     parties wish, may become binding contracts that can be enforced by a judge.

     You may wish to seek the advice of an attorney as to your legal rights and other
     matters relating to the dispute.

     Whom Do You Call?

     To locate a dispute resolution program or neutral in your community:

    • Contact the California Department of Consumer                   Affairs, Consumer
      Information Center, toil free, 1-800-952-5210, or

    • Contact the local bar association, or

     • Look in the Yellow Pages under "Arbitrations" or "Mediators."

     There may be a charge for services provided by private arbitrators and mediators.




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                 CONTRACTED MEDIATION SERVICE PROVIDERS

  The following mediation service providers are under contract with the County of San
  Bernardino to provide the listed alternate dispute resolution (ADR) services under referral by
  the Court at no or low cost. The contractors may also provide additional mediation services
  outside of their contracts with the County.


  Landlord-tenant, Unlawful Detainer, Small Claims:
  inland Fair Housing and Mediation Board
  Program Director: Lynne Anderson, Executive Director
  City Center Building
  10681 Foothill Boulevard, Suite 101
  Rancho Cucamonga, CA 91730
  TEL (909)984-2254, or(800)321-0911
  FAX (909)460-0274
  WEB www.inmedbd.com


  Civil & Family Law (except custody and support):
   Inland Valleys Justice Center
   Program Director: Kym Adams, Executive Director
   1710A Plum Ln
   Redlands, CA 92374
   TEL (909)798-7117
   TOLL FREE(877)832-9325
   FAX (877)839-1926
   WEB www.ivjc.org
 • EMAIL info@ivjc.org




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                                                                         STATE BAR NUMBER                          Reserved for Clerk's He Stamp
NAME AND ADDRESS OF ATTORNEY OR PARTY WITHOUT ATTORNEY




TELEPHONE NO.:
E-MAIL ADDRESS:                                      TRIAL SETTING CONFERENCE DATE:
ATTORNEY FOR(Name):                                  UNLIMITED CASE:
FAX NO.(Optional):                                   LIMITED CASE:

     SUPERIOR COURT OF CALIFORNIA, COUNTY OF SAN BERNARDINO
COURTHOUSE ADDRESS:

 PLAINTIFF:

 DEFENDANT:
                                                                                                         CASE NUMBER:
              INITIAL TRIAL SETTING CONFERENCE STATEMENT

INSTRUCTIONS: All applicable boxes must be checked, and the specified information must be provided. This document
m ust be filed and served at least 15 days prior to the trial setting conference date.

1.    Party or parties (answer one):
          a. 0 This statement is submitted by party (name):
          b. CI This statement is submitted jointly by parties (names):

2.    Service of Complaint on all parties has 0 has not 0 been completed.

3.    Service of Cross-Complaint on all parties has 0 has not 0 been completed.

4.    Description of case in Complaint:

5.    Description of case in Cross-Complaint:


6.    Has all discovery been completed: Yes 0                 No 0 Date discovery anticipated to be completed:

7.    Do you agree to mediation? Yes 0                   No 0 Please check type agreed to: Private:            Court-sponsored:

8.    Related cases, consolidation, and coordination: Please attach a Notice of Related Case.

      O A motion to 0 consolidate                 0 Trial dates requested: Yes 0 No 0 Available dates:
      Time estimate:

9.    Other issues:
      0The following additional matters are requested to be considered by the Court:

10. Meet and Confer:
                                                                                                          of Court, Rule 3.724.
    O The parties represent that they have met and conferred on all subjects required by California Rules

      O The parties have entered into the following stipulation(s):

1 1. Total number of pages attached (if any):
                                                                                                                     alternative dispute
       I am completely familiar with this case and will be fully prepared to discuss the status of discovery and
                                                           statement, and  will possess  the authority to enter into stipulations on these
       resolution, as well as other issues raised by this
                     time of the Initial Trial Setting Conference, including the written authority of the party where   required.
       issues at the
       Date:


           (TYPE OR PRINT NAME)                                                         (SIGNATURE OF PARTY OR ATTORNEY



           (TYPE OR PRINT NAME)                                                         (SIGNATURE OF PARTY OR ATTORNEY




Form # 13-09001-360                          INITIAL TRIAL SETTING CONFERENCE STATEMENT
Mandatory Form
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NAME AND ADDRESS OF ATTORNEY OR PARTY WTHOUT ATTORNEY                   STATE BAR NUMBER                           Reserved for Clerk's File Stamp




TELEPHONE NO.:
E-MAIL ADDRESS:                                     TRIAL SETTING CONFERENCE DATE:
ATTORNEY FOR(Name):                                 U NLIMITED CASE:
FAX NO.(Optional):                                  LIMITED CASE:

     SUPERIOR COURT OF CALIFORNIA, COUNTY OF SAN BERNARDINO
COURTHOUSE ADDRESS:

PLAINTIFF:

 DEFENDANT:
                                                                                                          CASE NUMBER:
             INITIAL TRIAL SETTING CONFERENCE STATEMENT
INSTRUCTIONS: All applicable boxes must be checked, and the specified information must be provided. This document
m ust be filed and served at least 15 days prior to the trial setting conference date.

1.    Party or parties (answer one):
          a. 0 This statement is submitted by party (name):
          b. CI This statement is submitted jointly by parties (names):

2.    Service of Complaint on all parties has 0 has not             0 been completed.
3.    Service of Cross-Complaint on all parties has 0 has not 0 been completed.

4.    Description of case in Complaint:

5.    Description of case in Cross-Complaint:


6.    Has all discovery been completed: Yes I]               No 0 Date discovery anticipated to be completed:

7.    Do you agree to mediation? Yes 0                  No 0 Please check type agreed to: Private:             Court-sponsored:

8.    Related cases, consolidation, and coordination: Please attach a Notice of Related Case.

      O A motion to       0 consolidate           ID Trial dates requested: Yes El         No 0 Available dates:
      Time estimate:

9.    Other issues:
      E]The following additional matters are requested to be considered by the Court:

10. Meet and Confer:
    O The parties represent that they have met and conferred on all subjects required by California Rules of Court, Rule 3.724.
      O The parties have entered into the following stipulation(s):
1 1. Total number of pages attached (if any):
                                                                                                                                dispute
      I am completely familiar with this case and will be fully prepared to discuss the status of discovery and alternative
                                             raised by this statement, and will possess the authority to enter into stipulations on these
      resolution, as well as other issues
                                                                                                                       required.
      issues at the time of the Initial Trial Setting Conference, including the written authority of the party where
      Date:


           (TYPE OR PRINT NAME)                                                        (SIGNATURE OF PARTY OR ATTORNEY



           (TYPE OR PRINT NAME)                                                        (SIGNATURE OF PARTY OR ATTORNEY




Form # 13-09001-360                         INITIAL TRIAL SETTING CONFERENCE STATEMENT
Mandatory Form
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•Accommodations For Persons With Disabilities Using Court Facilities

 The Americans with Disabilities Act(ADA)and State law require all state and local governmental entities,
 including the courts to provide reasonable accommodations for the needs of persons with disabilities. The
 ADA benefits people who have an interest in court activities, programs and services. In 1996 the Judicial
 Council of California, the policy-making body for the courts, adopted California Rules of Court, rule 1.00
(former rule 989.3) to implement the ADA in the state court system.
Under the ADA, State laws, and the court rule, a person is entitled to an accommodation if he or she is an
"eligible person with a disability." This means the person has a physical or mental impairment that limits
one or more major life activities, has a record of such impairment, or is regarded as having such
impairment.
It is the individual's responsibility to contact the court to request accommodations that would best suit his
or her situation. The individual may request an accommodation by completing the Request for
Accommodations by Persons with Disabilities (judicial Council Form MC-410) or by other means, and
provide the request to court staff. If the individual is involved in more than one case, they must submit a
separate request(MC-410form)for each case. The individual should give the court at least five working
days notice whenever possible. The court may grant, modify or deny the request. The information
presented will be kept confidential unless ordered released by a Judicial officer, or a written waiver of
confidentiality is received from the requestor.
The court will evaluate all requests to make reasonable modifications to its policies, practices, and
procedures when these modifications are necessary to avoid discriminating against a person because of a
disability.
Service animals are permitted in court facilities. The ADA defines a service animal as any guide dog,
signal dog, or other animal individually trained to provide assistance to an individual with a disability.
Service animals may go to all areas of the court where customers are normally allowed.
 For free tools that allow persons with visual disabilities to read documents in Adobe Acrobat PDF format,
 please visit htto://www.adobe.comienterorise/accessibility/main.html These tools convert PDF documents
 into either HTML or ASCII text that can be read by many screen-reading programs.
 For further information and forms:
 Jurors: Please contact the Jury Services Office at(909)884-1858.
 Others: Please contact the court's ADA Coordinator at sprentiss©sb-courts.org

Court employees: To request accommodation for yourself, please contact your supervisor or the Court's
Personnel Department. For information on assisting court customers with Ada issues, refer to the courts
intranet site www.sb-court.orq
If you should have any questions or concerns regarding Americans with Disabilities, please contact
Sharon Prentiss, Director of Court Administrative Services at(909) 708-8745.
 Request for Accommodation Instruction Sheet(Non Fillable Form and Rule of Court 1)
 http://www.sb-courtorg/Portals/0/Documents/PDRADNADA-Persons-With-Disabilities-MC410QA.pdf
 Request for Accommodation Form Finable Version(MC-410)
 http://www.courts.ca.aovidocuments/mc,410.odf

CAA on Rule of Court 1.100
htto://www.sb-
court.orq/Portals/0/Documents/PDF/ADA/Reauestsforaccommodationsbypersonswithdisabilities.pdf
Access and Fairness Advisory Flyer
htto://www.sb-court.ora/Portals/O/Documents/PDF/ADA/ProvidingDisabilityAccommodations.odf

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                                      SUPERIOR COURT OF CALIFORNIA,
                                       COUNTY OF SAN BERNARDINO
                                           San Bernardino District
                                              247 West 3rd St
                                          San Bernardino CA 92415
                                              www.sb-court.org
                                               909-708-8678

                                          Fareio-Fontaine -v- Excel Inc. et al
                                                                                             Case Number
NOTICE OF TRIAL SETTING CONFERENCE and NOTICE OF CASE ASSIGNMENT
                                                                                             0IVSB2206450
Law Offices of Jake D. Finkel, APC
3470 Wilshire BLVD
STE 830
Los Angeles CA 90010

This case has been assigned to: Janet M Frangie in Department S29 - SBJC for all purposes.

 Notice is hereby given that the above-entitled case has been set for Trial Setting Conference on:

                         Hearing Date: 10/12/2022 at 8:30 AM in Department S29 - SBJC

The Trial Setting Conference will be held in chambers without the appearance of the parties — except for good
cause shown. (Local Rule 411.1).

 Parties shall file and serve no later than 10 days prior to the trial setting conference the mandatory Initial Trial
 Setting Conference Statement form (local form #13-09001-360) included with this notice. Prior to the date of
 the initial trial setting conference, the court may entertain a written stipulation by all appearing parties to
 continue the initial trial setting conference if filed at least 30 days prior to the conference. In the event an At
 Issue Memorandum shall be filed and served no later than 15 days prior to the trial setting conference.

 Date: 4/15/2022                                                 Nancy CS Eberhardt, Court Executive Officer


                                                                  By:        PiqcPô
                                                                        Amador Sanchez, Deputy Clerk



                                             CERTIFICATE OF SERVICE

 I am a Deputy Clerk of the Superior Court for the County of San Bernardino at the above-listed address. I am
 not a party to this action and on the date and place shown below, I served a copy of the above-listed notice by:
 El Enclosed in a sealed envelope mailed to the interested party addressed above for collection and mailing
      this date, following standard Court practices.
 0 Enclosed in a sealed envelope, first class postage prepaid in the U.S. mail at the location shown above,
      mailed to the interested party and addressed as shown above or as shown on the attached listing.
 0 A copy of this notice was given to the filing party at the counter.
 0 A copy of this notice was placed in the bin located at this office and identified as the location for the above
      law firm's collection of file-stamped documents.
 Date of Mailing: 4/15/2022

 I declare under penalty of perjury that the forgoing is true and correct. Executed on 4/15/2022 at San
 Bernardino, CA.

                                                                                ce ceo           C 192
                                                                  By:
                                                                        Amador Sanchez, Deputy Clerk
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                     EXHIBIT 2
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    1   CHRISTOPHER J. BOMAN (SBN 198798)
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    2   BORIS SORSHER (SBN 251718)
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    4   HARRISON ZATOR (SBN 324282)
        hzator@fisherphillips.com
    5   FISHER & PHILLIPS LLP
        2050 Main Street, Suite 1000
    6   Irvine, California 92614
        Telephone: (949) 851-2424
    7   Facsimile: (949) 851-0152

    8   Attorneys for Defendant
        EXEL INC. d/b/a DHL SUPPLY CHAIN
    9

   10                      SUPERIOR COURT OF THE STATE OF CALIFORNIA

   11                            FOR THE COUNTY OF SAN BERNARDINO

   12

   13   DONNA FAREIO-FONTAINE, an                        CASE NO.: CIVSB2206450
        individual,                                      [Unlimited Jurisdiction]
   14
                               Plaintiff,                Assigned for all purposes to the
   15                                                    Honorable Janet M. Frangie, Dept. S29
                v.
   16                                                    ANSWER AND AFFIRMATIVE DEFENSES
                                                         OF DEFENDANT, EXEL, INC. d/b/a DHL
   17   EXEL INC., a Massachusetts Corporation,          SUPPLY CHAIN
        dba DHL Supply Chain; and DOES 1
   18   through 100, inclusive;
                                                         Complaint Filed: March 24, 2022
   19                          Defendants.               Trial Date: None Set
   20

   21            Defendant, EXEL INC. dba DHL SUPPLY CHAIN, (“Defendant”) responds to Plaintiff
   22   DONNA FAREIO-FONTAINE’s (“Plaintiff”) unverified Complaint as follows:
   23                                               ANSWER
   24           Pursuant to California Code of Civil Procedure section 431.30, Defendant, generally and
   25   specifically, denies each and every allegation, statement, matter and each purported cause of
   26   action in the Complaint, and further, without limiting the generality of the foregoing, generally
   27   and specifically denies that Plaintiff has suffered any injury, damage or loss of any kind or in any
   28   sum or sums whatsoever, by reason of any alleged act(s) or omission(s) of Defendant, or anyone

         ANSWER AND AFFIRMATIVE DEFENSES OF DEFENDANT, EXEL, INC. D/B/A DHL SUPPLY CHAIN
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    1   else allegedly acting on its behalf.

    2                                    FIRST AFFIRMATIVE DEFENSE

    3           1.      This Court lacks subject matter jurisdiction because all disputes arising out of or

    4   related to Plaintiff’s employment are subject to Plaintiff’s agreement to submit such disputes to

    5   binding individual contractual arbitration, and any contrary state laws operating to defeat such

    6   arbitration are preempted by the Federal Arbitration Act, 9 U.S.C., sections 1, et seq.

    7                                   SECOND AFFIRMATIVE DEFENSE

    8           2.      Plaintiff’s Complaint, and each and every cause of action therein, fails to state

    9   facts sufficient to constitute any cause of action against Defendant.

   10                                   THIRD AFFIRMATIVE DEFENSE

   11           3.      Plaintiff’s Complaint, and each and every cause of action therein, is barred by the

   12   applicable statute of limitations, including but not limited to: California Code of Civil Procedure

   13   sections 335.1, 338(a), and 340(a), and California Government Code sections 12960 and 12965.

   14                                   FOURTH AFFIRMATIVE DEFENSE

   15           4.      Plaintiff’s Complaint, and each and every cause of action therein, is barred by the

   16   exclusive remedy provisions of the Workers’ Compensation Act pursuant to California Labor

   17   Code section 3601 et seq.

   18                                   FIFTH AFFIRMATIVE DEFENSE

   19           5.      If Plaintiff has received, or in the future receives, Workers’ Compensation

   20   benefits by reason of the claimed injuries which give rise to this suit, any judgment rendered in

   21   favor of Plaintiff should be reduced by the amount of all Workers’ Compensation benefits paid

   22   to or on behalf of Plaintiff.

   23                                   SIXTH AFFIRMATIVE DEFENSE

   24           6.      Plaintiff is estopped by her conduct from recovering any relief sought in the

   25   Complaint, or in any purported cause of action alleged therein.

   26                               SEVENTH AFFIRMATIVE DEFENSE

   27           7.      By her conduct, Plaintiff has waived any right to recover any relief sought in the

   28   Complaint, or in any purported cause of action alleged therein.

                                                         2
         ANSWER AND AFFIRMATIVE DEFENSES OF DEFENDANT, EXEL, INC. D/B/A DHL SUPPLY CHAIN
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    1                                EIGHTH AFFIRMATIVE DEFENSE

    2           8.      Plaintiff’s claims are barred by the doctrine of unclean hands.

    3                                 NINTH AFFIRMATIVE DEFENSE

    4           9.      The acts and/or omissions of the additional defendant(s) other than this answering

    5   Defendant, and of the unnamed “Doe” defendants, were all undertaken outside the scope of such

    6   Defendant’s agency and/or employment with this answering Defendant, and were undertaken

    7   without the knowledge or consent of this answering Defendant, and this answering Defendant

    8   may not be held liable for such acts and/or omissions.

    9                                TENTH AFFIRMATIVE DEFENSE

   10           10.     To the extent Plaintiff suffered any symptoms of mental or emotional distress or

   11   injury, they were the result of a pre-existing psychological disorder or alternative concurrent

   12   cause, and not the result of any act or omission of Defendant.

   13                              ELEVENTH AFFIRMATIVE DEFENSE

   14           11.     Plaintiff’s claims are barred by Plaintiff’s failure to exhaust administrative

   15   remedies and/or internal grievance procedures.

   16                              TWELFTH AFFIRMATIVE DEFENSE

   17           12.     There existed legitimate, non-discriminatory, and non-retaliatory reasons for the

   18   alleged acts of Defendant of which Plaintiff complains.

   19                            THIRTEENTH AFFIRMATIVE DEFENSE

   20           13.     The alleged acts of which Plaintiff complains were based on reasonable factors

   21   other than disability/medical condition, request for accommodations, gender, age, alleged

   22   protected activities, or any other prohibited factor.

   23                            FOURTEENTH AFFIRMATIVE DEFENSE

   24           14.     Even if it is found that actions by Defendant were motivated by both

   25   discriminatory and retaliatory reasons as well as non-discriminatory and non-retaliatory reasons,

   26   the non-discriminatory and non-retaliatory reasons would have induced Defendant to make the

   27   same decision. (Harris v. City of Santa Monica (2013) 56 Cal.4th 203.)

   28   //

                                                          3
         ANSWER AND AFFIRMATIVE DEFENSES OF DEFENDANT, EXEL, INC. D/B/A DHL SUPPLY CHAIN
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    1                               FIFTEENTH AFFIRMATIVE DEFENSE

    2           15.      Plaintiff failed to cooperate in the interactive process and/or the process of

    3   reasonable accommodation.

    4                               SIXTEENTH AFFIRMATIVE DEFENSE

    5           16.      Plaintiff’s claims are barred because her perception of conduct alleged to

    6   constitute harassment was not reasonable.

    7                              SEVENTEENTH AFFIRMATIVE DEFENSE

    8           17.      Plaintiff welcomed any conduct alleged to be harassing.

    9                              EIGHTEENTH AFFIRMATIVE DEFENSE

   10           18.      Defendant exercised reasonable care to prevent and promptly correct any

   11   allegedly harassing, retaliatory, and/or discriminatory behavior.

   12                              NINETEENTH AFFIRMATIVE DEFENSE

   13           19.      Plaintiff unreasonably failed to take advantage of any preventive or corrective

   14   opportunities provided by Defendant or to avoid harm otherwise.

   15                               TWENTIETH AFFIRMATIVE DEFENSE

   16           20.      Plaintiff’s reasonable use of Defendant’s procedures to prevent and/or correct the

   17   allegedly harassing behavior would have prevented all or some of the alleged harm she claims to

   18   have suffered.

   19                              TWENTY-FIRST AFFIRMATIVE DEFENSE

   20           21.      Any recovery on Plaintiff’s Complaint, or any purported cause of action alleged

   21   therein, is barred in whole or in part by Plaintiff’s failure to mitigate her damages.

   22                          TWENTY-SECOND AFFIRMATIVE DEFENSE

   23           22.      Any recovery on Plaintiff’s Complaint or any purported cause of action alleged

   24   therein, is barred in whole or in part by after-acquired evidence which independently justified

   25   Plaintiff’s termination.

   26                           TWENTY-THIRD AFFIRMATIVE DEFENSE

   27           23.      Plaintiff is not entitled to recover punitive or exemplary damages from Defendant

   28   on the grounds that any award of punitive or exemplary damages would violate Defendant’s

                                                         4
         ANSWER AND AFFIRMATIVE DEFENSES OF DEFENDANT, EXEL, INC. D/B/A DHL SUPPLY CHAIN
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    1   constitutional rights under the Due Process Clauses of the Fifth and Fourteenth Amendments of

    2   the United States Constitution.

    3                         TWENTY-FOURTH AFFIRMATIVE DEFENSE

    4           24.     This action is barred because Plaintiff, with or without reasonable

    5   accommodation, was unable to perform her essential functions and/or duties without endangering

    6   Plaintiff’s health or safety and/or the health or safety of others.

    7                           TWENTY-FIFTH AFFIRMATIVE DEFENSE

    8           25.     Plaintiff’s claims are barred, in whole or in part, to the extent a reasonable

    9   accommodation did not exist during the at-issue period.

   10                           TWENTY-SIXTH AFFIRMATIVE DEFENSE

   11           26.     Plaintiff failed to engage in the interactive process in good faith.

   12           Defendant expressly reserves the right to amend its answer and affirmative defenses, and

   13   to supplement, alter or change its answer and affirmative defenses for good cause; or

   14   alternatively, upon revelation of more definitive facts by Plaintiff and upon Defendant’s

   15   undertaking of discovery and investigation of this matter. Accordingly, the right to assert

   16   additional affirmative defenses, if and to the extent that such affirmative defenses are applicable,

   17   is hereby reserved.

   18           WHEREFORE, this answering Defendant prays as follows:

   19           1.      That Plaintiff take nothing by her Complaint for damages;

   20           2.      That Plaintiff’s Complaint herein be dismissed in its entirety with prejudice;

   21           3.      That Defendant recover its costs of suit herein, including its reasonable attorneys’

   22   fees; and

   23   //

   24   //

   25   //

   26   //

   27   //

   28   //

                                                          5
         ANSWER AND AFFIRMATIVE DEFENSES OF DEFENDANT, EXEL, INC. D/B/A DHL SUPPLY CHAIN
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    1           4.      That the Court award such other and further relief as it deems appropriate.

    2

    3    DATE: May 20, 2022                             FISHER & PHILLIPS LLP
    4
                                                 By: _____________________________________
    5                                               CHRISTOPHER J. BOMAN
                                                    BORIS SORSHER
    6                                               ASHTON M. RILEY
                                                    HARRISON ZATOR
    7                                               Attorneys for Defendant
                                                    EXEL INC., d/b/a DHL SUPPLY CHAIN
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         ANSWER AND AFFIRMATIVE DEFENSES OF DEFENDANT, EXEL, INC. D/B/A DHL SUPPLY CHAIN
        FP 44011454.1
Case 5:22-cv-00848-FWS-SP Document 1-3 Filed 05/20/22 Page 39 of 43 Page ID #:56



    1                                       PROOF OF SERVICE
                                          (CCP § 1013(a) and 2015.5)
    2
                I, the undersigned, am employed in the County of Orange, State of California. I am over
    3   the age of 18 and not a party to the within action; am employed with the law offices of Fisher &
        Phillips LLP and my business address is 2050 Main Street, Suite 1000, Irvine, California 92614.
    4
               On xxxx, I served the foregoing document entitled ANSWER AND AFFIRMATIVE
    5   DEFENSES OF DEFENDANT, EXEL, INC. d/b/a DHL SUPPLY CHAIN on all the
        appearing and/or interested parties in this action by placing the original a true copy thereof
    6   enclosed in sealed envelope(s) addressed as follows:

    7    Jake D. Finkel, Esq. (SBN 293954)                  Attorneys for Plaintiff,
         Sheryl L. Marx, Esq. (SBN 311475)                  Donna Fareio-Fontaine
    8    LAW OFFICES OF JAKE D. FINKEL, APC
         3470 Wilshire Blvd., Suite 830                     E: jake@lawfinkel.com
    9    Los Angeles, CA 90010                              E: sheryl@lawfinkel.com
         Telephone: (213) 787-7411                          E: citlaly@lawfinkel.com
   10    Facsimile: (323) 916-0521

   11          [by MAIL] - I am readily familiar with the firm's practice of collection and processing
                correspondence for mailing. Under that practice it would be deposited with the U.S.
   12           Postal Service on that same day with postage thereon fully prepaid at Irvine, California
                in the ordinary course of business. I am aware that on motion of the party served, service
   13           is presumed invalid if postage cancellation date or postage meter date is more than one
                day after date of deposit for mailing this affidavit.
   14
               [by FEDERAL EXPRESS] - I am readily familiar with the firm’s practice for collection
   15           and processing of correspondence for overnight delivery by Federal Express. Under that
                practice such correspondence will be deposited at a facility or pick-up box regularly
   16           maintained by Federal Express for receipt on the same day in the ordinary course of
                business with delivery fees paid or provided for in accordance with ordinary business
   17           practices.

   18          [by ELECTRONIC SERVICE] - Based on a court order or an agreement of the parties
                to accept service by electronic transmission, I caused the documents to be sent to the
   19           persons at the electronic notification address listed above.

   20          [by PERSONAL SERVICE] - I caused to be delivered by messenger such envelope(s)
                by hand to the office of the addressee(s). Such messenger is over the age of eighteen
   21           years and not a party to the within action and employed with ASAP Legal Solution
                Attorney Services LLC, whose business address is 404 W. 4 th Street, Suite B, Santa Ana,
   22           CA 92701.

   23           I declare under penalty of perjury under the laws of the State of California that the
                foregoing is true and correct.
   24
                Executed May 20, 2022, at Irvine, California.
   25
            Grace Andrade                             By:
   26                       Print Name                                          Signature


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                                               PROOF OF SERVICE
        FP 44011454.1
Case 5:22-cv-00848-FWS-SP Document 1-3 Filed 05/20/22 Page 40 of 43 Page ID #:57




                     EXHIBIT 3
Case 5:22-cv-00848-FWS-SP Document 1-3 Filed 05/20/22 Page 41 of 43 Page ID #:58



    1   Christopher J. Boman (SBN 198798)
        cboman@fisherphillips.com
    2   Boris Sorsher (SBN 251718)
        bsorsher@fisherphillips.com
    3   Ashton M. Riley (SBN 310528)
        ariley@fisherphillips.com
    4   Harrison Zator (SBN 324282)
        hzator@fisherphillips.com
    5   FISHER & PHILLIPS LLP
        2050 Main Street, Suite 1000
    6   Irvine, California 92614
        Telephone: (949) 851-2424
    7   Facsimile: (949) 851-0152

    8   Attorneys for Defendant
        EXEL INC. d/b/a DHL SUPPLY CHAIN
    9

   10                      SUPERIOR COURT OF THE STATE OF CALIFORNIA

   11                           FOR THE COUNTY OF SAN BERNARDINO

   12

   13   DONNA FAREIO-FONTAINE, an                       CASE NO.: CIVSB2206450
        individual,                                     [Unlimited Jurisdiction]
   14
                               Plaintiff,               Assigned for all purposes to the
   15                                                   Honorable Janet M. Frangie, Dept. S29
                v.
   16                                                   DEFENDANT EXEL, INC. DBA DHL SUPPLY
        EXEL INC., a Massachusetts Corporation,         CHAIN’S NOTICE TO THE CLERK OF THE
   17   dba DHL Supply Chain; and DOES 1                SUPERIOR COURT AND ADVERSE PARTY
        through 100, inclusive;                         OF REMOVAL TO FEDERAL COURT
   18
                               Defendant.               Complaint Filed: March 24, 2022
   19                                                   Trial Date:      None Set
   20

   21           TO THE CLERK OF THE SUPERIOR COURT OF CALIFORNIA FOR THE
   22   COUNTY OF SAN BERNARDINO AND TO PLAINTIFF DONNA FAREIO-FONTAINE
   23   AND HER ATTORNEY OF RECORD:
   24           PLEASE TAKE NOTICE that, pursuant to 28 U.S.C.§ 1446(d), on May 20, 2022,
   25   Defendant EXEL, INC. dba DHL SUPPLY CHAIN (“Defendant”) filed a Notice of Removal
   26   and related documents with the United States District Court for the Central District of California.
   27   Attached hereto as “Exhibit A” is a true and correct copy of the Notice of Removal and related
   28   documents, the filing of which effects the removal of this action to the United States District


               NOTICE TO STATE COURT AND ADVERSE PARTY OF REMOVAL TO FEDERAL COURT
        FP 44079726.1
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    1   Court for the Central District of California.

    2           PLEASE TAKE FURTHER NOTICE that, pursuant to 28 U.S.C. section 1446(d), this

    3   Court need take no further action with respect to this case unless and until the case is remanded.

    4

    5   DATE: May 20, 2022                              FISHER & PHILLIPS LLP
    6

    7
                                               By:
    8                                                   Christopher J. Boman
                                                        Boris Sorsher
    9                                                   Ashton M. Riley
                                                        Harrison Zator
   10                                                   Attorneys for Defendant
                                                        EXEL, INC. dba DHL SUPPLY CHAIN
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               NOTICE TO STATE COURT AND ADVERSE PARTY OF REMOVAL TO FEDERAL COURT
        FP 44079726.1
Case 5:22-cv-00848-FWS-SP Document 1-3 Filed 05/20/22 Page 43 of 43 Page ID #:60



    1                                       PROOF OF SERVICE
                                          (CCP §§1013(a) and 2015.5)
    2
                I, the undersigned, am at least 18 years old and not a party to this action. I am employed
    3   in the County of Orange with the law offices of Fisher & Phillips LLP and its business address
        is 2050 Main Street, Suite 1000, Irvine, California 92614.
    4
               On May 20, 2022, I served the following document(s) DEFENDANT EXEL, INC. DBA
    5   DHL SUPPLY CHAIN’S NOTICE TO THE CLERK OF THE SUPERIOR COURT AND
        ADVERSE PARTY OF REMOVAL TO FEDERAL COURT on the person(s) listed below
    6   by placing   the original     a true copy thereof enclosed in sealed envelope(s) addressed as
        follows:
    7
         Jake D. Finkel, Esq.                               Attorneys for Plaintiff
    8    Sheryl L. Marx, Esq.                               DONNA FAREIO-FONTAINE
         LAW OFFICES OF JAKE D. FINKEL, APC
    9    3470 Wilshire Blvd., Suite 830                     T:   (213) 787-7411
         Los Angeles, CA 90010                              F:   (213) 916-0521
   10                                                       E:   jake@lawfinkel.com
                                                            E:   sheryl@lawfinkel.com
   11                                                       E:   citlaly@lawfinkel.com
               [by MAIL] - I enclosed the document(s) in a sealed envelope or package addressed to
   12           the person(s) whose address(es) are listed above and placed the envelope for collection
                and mailing, following our ordinary business practices. I am readily familiar with this
   13           business’s practice for collecting and processing correspondence for mailing. On the
                same day that correspondence is placed for collection and mailing, it is deposited in the
   14           ordinary course of business with the United States Postal Service in Irvine California, in
                a sealed envelope with postage fully prepaid.
   15
               [by OVERNIGHT DELIVERY] - I enclosed the document(s) in an envelope or package
   16           provided by an overnight delivery carrier and addressed to the person(s) at the address(es)
                listed above. I placed the envelope or package for collection and overnight delivery at an
   17           office or a regularly utilized drop box of the overnight carrier.
   18          [by ELECTRONIC SERVICE] - Based on a court order or an agreement of the parties
                to accept service by electronic transmission, I electronically served the document(s) to
   19           the person(s) at the electronic service address(es) listed above.
   20          [by PERSONAL SERVICE] - I delivered the document(s) to the person(s) at the
                address(es) listed above by (1) (a) personal delivery, or (b) by leaving the documents in
   21           an envelope/package with an individual in charge of the office, or (c) by leaving them in
                a conspicuous place in the office between the hours of 9:00 a.m. and 6:00 p.m., or (2) by
   22           messenger – a copy of the Messenger Declaration is attached.
   23          I declare under penalty of perjury, under the laws of the State of California, that the
        foregoing is true and correct. Executed May 20, 2022, at Irvine, California.
   24

   25       Grace Andrade                             By:
                            Print Name                                          Signature
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                                               PROOF OF SERVICE
        FP 44079726.1
